        Case 2:23-cv-01281-DSC-KT Document 7 Filed 09/29/23 Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 ELITE CASINO EVENTS, LLC,                           )
                                                     )
                        Plaintiff,                   )      Civil Action No. 2:23-cv-01281-LPL
                                                     )
         v.                                          )
                                                     )
 ELITE CASINO EVENTS, LLC,                           )
                                                     )
                        Defendant.                   )


       MOTION FOR ALTERNATIVE SERVICE OF PROCESS ON DEFENDANT

       AND NOW, comes the Plaintiff, Elite Casino Events, LLC (“Plaintiff”), by its undersigned

counsel, and files this motion for alternative service of process on Defendant, Elite Casino Events,

LLC (“Defendant”), pursuant to Federal Rule of Civil Procedure 4(e)(1) and in support thereof

states as follows:

I.     Legal Standard

       1.      In federal court, Plaintiff may serve Defendant pursuant to the law of the state in

which the district court sits or in which service is to be effected. Fed. R. Civ. P. 4(e)(1).

       2.      Plaintiff can satisfy Rule 4(e)(1) by serving Defendant in a manner consistent with

Pennsylvania or Texas law.           Washington County Family Entertainment, LLC v. RNN

Entertainment Inc., 2018 U.S. Dist. Lexis 1382 *3 (Jan. 4, 2018).

       A.      Original Service: Pennsylvania

       3.      Under Pennsylvania law, a plaintiff may serve a defendant outside the

Commonwealth by:

       (1) by personal service, as provided in Pennsylvania Rule 402(a);
           Case 2:23-cv-01281-DSC-KT Document 7 Filed 09/29/23 Page 2 of 8




        (2) by mail, as provided in Pennsylvania Rule 403; and

        (3) as permitted by the law of the jurisdiction in which service is to be made.

See PA. R. Civ. P. 404(1)-(3).

        4.      If service cannot be made, the plaintiff can move for alternative service.

Washington County Family Entertainment, LLC v. RNN Entertainment Inc., 2018 U.S. Dist. Lexis

at *3-4.

        5.      Under Pennsylvania law, Plaintiff must meet three conditions for alternative

service:

                a.        First, Plaintiff "must make a 'good faith' effort to locate Defendant. Id. at

4; See Calabro v. Leiner, 464 F. Supp. 2d 470, 471 (E.D. Pa. 2006).

                b.        Second, once Defendant is located, Plaintiff must show that she has made

practical efforts to serve Defendant but has been unable to do so. Id. at 4-5.

                c.        Third, after Plaintiff satisfied the first two steps, the proposed alternate

means of service must be reasonable to provide Defendant with notice of the proceedings. Id. at

5-6.

        B.      Original Service: Texas

        6.      Under Texas law, a complaint can be served by:

        (1) delivering to the defendant, in person, a copy of the citation, showing the delivery date,

and of the petition; or

        (2) mailing to the defendant by registered or certified mail, return receipt requested, a copy

of the citation and of the petition.

See TX. R. Civ. P. 106(a)(1)-(2).



                                                   -3-
        Case 2:23-cv-01281-DSC-KT Document 7 Filed 09/29/23 Page 3 of 8




       7.      If service cannot be made, the plaintiff can move for alternative service “[u]pon

motion supported by a statement-sworn to before a notary or made under penalty of perjury-listing

any location where the defendant can probably be found and stating specifically the facts showing

that service has been attempted under (a)(1) or (a)(2) at the location named in the statement but

has not been successful, the court may authorize service”:

               a.          By leaving a copy of the citation and of the petition with anyone older than

sixteen at the location specified in the statement; or

               b.      In any other manner, including electronically by social media, email, or

other technology, that the statement or other evidence shows will be reasonably effective to give

the defendant notice of the suit.

See TX. R. Civ. P. 106(b).

       C.      Original Service: Alternative Federal Rules of Civil Procedure

       8.      The Federal Rules of Civil Procedure also permits service by:

       (1) delivering a copy of the summons and of the complaint to the individual personally;

       (2) leaving a copy of each at the individual's dwelling or usual place of abode with someone

of suitable age and discretion who resides there; or

       (3) delivering a copy of each to an agent authorized by appointment or by law to receive

service of process.

Fed. R. Civ. P. 4(e)(2).

       9.      As outlined below, Plaintiff has complied with attempting service according to the

standards in Pennsylvania, Texas, and through the Federal Rules of Civil Procedure. Service has

not been successful, and Plaintiff seeks alternative service to proceed with the Complaint.



                                                   -4-
          Case 2:23-cv-01281-DSC-KT Document 7 Filed 09/29/23 Page 4 of 8




          D.    Time Extension for Servicing

          10.   Pursuant to Federal Rule of Civil Procedure 4(m) and for good cause shown,

Plaintiff requests an additional thirty (30) days to effectuate service on Defendant.

          11.   If the plaintiff shows good cause for the failure to serve within 90 days, the court

must extend the time for service for an appropriate period. Fed. R. Civ. P. 4(m).

          12.   As outlined below, Plaintiff has engaged in numerous good-faith efforts to serve

Defendant. Service has not been successful, and Plaintiff seeks a thirty (30) day extension to the

servicing time period.

II.       Attempts to Serve Complaint

          13.   This action was commenced by Plaintiff to recover damages and prevent further

trademark infringement by Defendant of Plaintiff’s registered mark “ELITE CASINO EVENTS”.

          14.   On or about July 14, 2023, Plaintiff, filed a Complaint in the above captioned

action.

          15.   On or about July 26, 2023, service was attempted, but was unsuccessful, by certified

mail to (i) Defendant’s registered agent in Texas, and (ii) 1001 Altamesa Blvd., Fort Worth, TX

76134, the latter of which was the address to which two prior demand letters had been sent to the

Defendant, and which were later responded to by email from Defendant’s counsel, Jason Ciarochi.

See Complaint, ¶ 38 and Exs. C and D [ECF No. 1]. A copy of the certified mail receipt is attached

hereto and marked as “Exhibit A” and incorporated by reference as if fully set forth herein.

          16.   Upon inquiry to Defendant’s counsel by email dated August 8, 2023, he indicated

by responsive email of the same date that he was not authorized to accept service of the Complaint.




                                                 -5-
        Case 2:23-cv-01281-DSC-KT Document 7 Filed 09/29/23 Page 5 of 8




A copy of the Defendant’s counsel’s email is attached hereto and marked as “Exhibit B” and

incorporated by reference as if fully set forth herein.

       17.     Plaintiff thereafter attempted to serve the Complaint by certified mail to three other

business addresses listed on Defendant’s website (i) 100 Crescent Court, Suite 700, Dallas, TX

75201, (ii) 100 Congress Avenue, Suite 2000, Austin, TX 78701, and (iii) 700 Milam Street, Suite

1300, Houston, TX 77002. A copy of the certified mail receipts is attached hereto and marked as

“Exhibit C” and incorporated by reference as if fully set forth herein. These attempts also were

unsuccessful and were returned as undeliverable.

       18.     On or around September 19, 2023, Plaintiff contracted David Barberena, an

individual authorized to deliver Subpoenas, Citations and other notices within the State of Texas,

to serve Defendant. A copy of the Affidavit of Attempts is attached hereto and marked as “Exhibit

D” and incorporated by reference as if fully set forth herein.

       19.     Mr. Barberena attempted service at 2205 North Henderson Avenue, Dallas, TX

75206. See Exhibit D.

       20.     The North Henderson location was listed as Defendant’s registered agent’s address.

A copy of the Texas Controller of Public Accounts Franchise Tax Details is attached hereto and

marked as “Exhibit E” and incorporated by reference as if fully set forth herein.

       21.     Service failed as the North Henderson location is a vacant lot. See Exhibit D.

       22.     On September 21, 2023, Mr. Barberena then attempted service at 100 Cresent

Court, Ste. 700, Dallas, TX 75201 which is a listed business address for Defendant. See Exhibit

D.




                                                 -6-
        Case 2:23-cv-01281-DSC-KT Document 7 Filed 09/29/23 Page 6 of 8




        23.     The location is a shared office space and the receptionist said no one from

Defendant’s business was present. See Exhibit D.

        24.     Mr. Barberena left his contact information and asked the receptionist to have a

representative for Defendant call him, but Mr. Barberena never received a phone call. See Exhibit

D.

        25.     On September 23, 2023, Mr. Barberena attempted service at Elaine Davidson’s

home address, 1913 Windmill Hill Lane, Desoto, TX 75115. See Exhibit D.

        26.     Elaine Davidson is the CEO of Elite Casino Events, LLC.

        27.     Mr. Barberena rang the doorbell multiple times and after no answer, left a contact

request slip attached to the door and the mailbox. See Exhibit D.

        28.     On September 25, 2023, Mr. Barberena attempted service again at Elaine

Davidson’s address. See Exhibit D.

        29.     Packages at the mailbox and door further identified the address as Elaine

Davidson’s. See Exhibit D.

        30.     On September 26, 2023, Mr. Barberena attempted service again at Elaine

Davidson’s address. See Exhibit D.

        31.     Despite numerous attempts to send the complaint by certified mail, by Plaintiff’s

counsel, and by a local personal processor, Defendant has still not been served. Plaintiff’s counsel

incorporates an Affidavit outlining the good-faith attempt to service Defendant. A copy of the

Affidavit is attached hereto and marked as “Exhibit E” and incorporated by reference as if fully

set forth herein.




                                                -7-
        Case 2:23-cv-01281-DSC-KT Document 7 Filed 09/29/23 Page 7 of 8




       WHEREFORE, Elite Casino Events LLC, respectfully requests that this Honorable Court

grant the within Motion for Alternative Service of Process and enter an Order permitting Plaintiff

to   serve    the    Complaint     by    (1)     sending    to   Defendant’s     business    email

(Info@EliteCasinoEvent.com), (2) sending by regular mail to the Altamesa Blvd. and North

Henderson Avenue addresses identified above, (3) posting at Elaine Davidson’s home address at

Windmill Hill Lane, and/or (4) in such other manner as this Court deems just and proper. Further,

service is extended an additional 30 days to allow time for the methods of alternative service.

                                               Respectfully submitted,

                                               MEYER, UNKOVIC & SCOTT LLP



                                          By: s/David G. Oberdick
                                              David Oberdick

                                               ATTORNEY FOR PLAINTIFF




                                                 -8-
          Case 2:23-cv-01281-DSC-KT Document 7 Filed 09/29/23 Page 8 of 8




                              CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the within MOTION FOR

ALTERNATIVE SERVICE has been served upon the following by regular U.S. Mail on this

29th day of September 2023.


                                Elite Casino Events, LLC
                                  1001 Altamesa Blvd.
                                 Fort Worth, TX 76134

                                Elite Casino Events, LLC
                              2205 North Henderson Avenue
                                   Dallas, TX 75206;

                                    Elaine Davidson
                                1913 Windmill Hill Lane
                                  Desoto, TX 75115




                                        _____________________________
                                        David G. Oberdick




4882-4635-3539, v. 3
